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                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                   AT BECKLEY

RYAN HYSELL and CRYSTAL HYSELL,
on behalf of their daughter, A.H., a minor,

                              Plaintiffs,

v.                                                   CIVIL ACTION NO. 5:18-cv-01375

RALEIGH GENERAL HOSPITAL and
THE UNITED STATES OF AMERICA,

                              Defendants.


                                     JUDGMENT ORDER

               In accordance with the Orders entered today awarding Plaintiffs $10,265,340.38

-- $837,527.00 for future lost earnings, $8,707,995.00 for future medical treatment, and

$719,818.38 for noneconomic loss 1 -- the Court ORDERS that Judgment be entered, with the

proviso that this case is STAYED and RETIRED to the inactive docket pending (1) the parties’

consideration, no later than April 20, 2022, of amicably resolving the collateral sources issue, and

(2) the Plaintiffs’ acceptance of the Court’s reduction of the jury award, with an appropriate

proposed amendment(s) of the Judgment. If no resolution is reached on the collateral sources issue,

the Court will, upon renewed motion, set a hearing and, if warranted, amend the Judgment.




        1
           RGH was found to be 70% at fault. Thus, RGH is responsible for $586,268.90 for future
lost earnings, $6,095,596.50 for future medical treatment, and $503,872.87 for noneconomic loss,
for a total of $7,185,738.27. The United States is 30% at fault. Thus, the United States is
responsible for $251,258.10 for future lost earnings, $2,612,398.50 for future medical treatment,
and $215,945.51 for noneconomic loss, for a total of $3,079,602.11.
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         The Clerk is directed to send a copy of this Judgment Order to counsel of record.

                                              ENTER:         March 31, 2022




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